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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND EXCHANGE
 COMMISSION,
                                                                 Civil No. 1:17-CV-04179-DLC
         Plaintiff,
                                                                 Honorable Judge Denise L. Cote
 v.                                                              Magistrate Judge Ronald L. Ellis

 ALPINE SECURITIES CORPORATION,

         Defendant.


      SUPPLEMENTAL DECLARATION OF NATHAN D. SIMMONS IN SUPPORT OF
      ALPINE SECURITIES CORPORATION’S MOTION TO DISMISS FOR LACK OF
                PERSONAL JURISDICTION AND IMPROPER VENUE

        I, Nathan D. Simmons, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury

under the laws of the United States of America that the following statements are true and correct:

        1.       My name is Nathan Simmons and I am a resident of Davis County, Utah, am over

18 years of age, and make the statements herein based on my personal knowledge.

        2.       I am the General Counsel of Alpine Securities Corporation (“Alpine”), the

Defendant in the above-entitled matter, and I work at Alpine’s headquarters.

        3.       This declaration supplements my prior Declaration filed in support of Alpine’s

Motion to Dismiss and/or transfer on August 3, 2017 [Dkt. No. 17].

        4.       Alpine is a Utah corporation with its headquarters in Salt Lake City, Utah.

        5.       Utah is Alpine’s principal place of business.

        6.       Alpine does not have an office or employees in New York.

        7.       Alpine does not operate any other business in New York.

        8.       Alpine does not have, and is not required to have, a registered agent in New York.



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       9.       In the course of my duties as General Counsel, I became personally familiar with

the facts, parties, and claim in the above-entitled matter.

       10.      I have reviewed The United States Securities and Exchange Commission’s

(“SEC’s”) Complaint and Opposition Memorandum to Alpine’s Motion to Dismiss filed in the

above-entitled matter.

       11.      Based on the allegations in the SEC’s Complaint, and my personal knowledge of

the facts and events associated to the allegations in the SEC’s Complaint, the following

individuals, with their current residency, may be called as witnesses for Alpine in its Defense in

the above-entitled matter. Alpine expects that they will provide testimony on the following

relevant subject areas (with the understanding that individuals with positions as in-house counsel

may be precluded from disclosing or testifying as to privileged communications or materials):

                a.       Robert L. Tew, President at Alpine, resides in Utah, and, if called as a

       witness, is expected to provide testimony regarding his overall responsibilities in

       connection with Alpine’s business and operations, including how various AML matters

       were addressed and resolved in the context of Alpine’s policies and procedures.

                b.       Nathan D. Simmons, General Counsel at Alpine, resides in Utah, and, if

       called as a witness, is expected to provide testimony regarding the due diligence and

       review procedures for deposits of securities by Alpine customers, his assistance and

       supervision of legal staff in connection with resolving various legal and procedural

       issues, and interactions with personnel involved in AML procedures, including assistance

       and oversight as to what transactions were referred for further consideration by AML.

                c.       Erin Zipprich, AML Officer at Alpine, resides in Utah, and, if called as a

       witness, is expected to provide testimony regarding various aspects of Alpine’s




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compliance and AML procedures, including staffing and resources available during the

relevant time period, efforts to improve AML procedures, and procedures for AML

referrals, and the preparation of SARs.

       d.      Joshua Boyer, Director of Operations at Alpine, resides in Utah, and is

expected to provide testimony regarding Alpine’s operations and procedures through

which information was identified and assessed (which in turn was used for further

consideration of AML issues and preparation of SARs).

       e.      Christopher L. Frankel, CEO and CCO at Alpine, resides in Utah and

Florida, and, if called as a witness, is expected to provide testimony (for the period of

time after he joined Alpine in July 2015) concerning his responsibilities in the foregoing

positions and efforts to improve and effectively administer Alpine’s AML procedures.

       f.      Randy Jones, Sales and Trading Manager at Alpine (formerly AML

Officer), resides in Maine and commutes to work in Utah. If Mr. Jones is called as a

witness, he is expected to provide testimony regarding Alpine’s AML program and his

actions during the period of time, in 2012, when he was AML officer, along with his

understanding, oversight and the nature of the procedures underlying respective

transactions and/or SARs identified in this matter.

       g.      Ginnie Griffith (Baldwin), Registered Representative at Alpine, resides in

Utah. In this position she regularly assisted in acquiring documentation and information

concerning particular customers and stock deposits, as well as performing other duties in

connection with effecting securities trades. If called as a witness, she is expected to

provide testimony regarding the procedures and required documentation for deposits of




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securities by Alpine’s customers, including documentation and information relating to

AML issues.

       h.      Erin Lui, Registered Representative at Alpine, resides in Utah. In this

position she regularly assisted in acquiring documentation and information concerning

particular customers and stock deposits, as well as performing other duties in connection

with effecting securities trades. If called as a witness, is expected to provide testimony

regarding the procedures and required documentation for deposits of securities by

Alpine’s customers, including documentation and information relating to AML issues.

       i.      Travis Standiford, former Sales Representative at Alpine, resides in Utah.

In this position he regularly assisted in acquiring the required documentation and

information concerning particular customers and stock deposits, including documentation

and information relating to AML issues.

        j.     Todd Groskreutz, former CFO, AML Officer, and FINOP at Alpine,

resides in Utah, and, if called as a witness, is expected to provide testimony regarding

Alpine’s AML program, his responsibilities and actions as CCO, CFO, FINOP and AML

Officer, his supervision of AML procedures, and his understanding and assessment of the

procedures and resources utilized in the respective transactions and/or SARs identified in

this matter.

        k.     Elisha L. Werner, former AML Officer and legal counsel at Alpine,

resides in Illinois, and, if called as a witness, is expected to provide testimony regarding

Alpine’s AML program, and her actions during the period of time when she was AML

officer, and her understanding, oversight and the nature of the procedures underlying

respective transactions and/or SARs identified in this matter.




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          l.    Leia Farmer, former CCO and AML Officer at Alpine, resides in Iowa,

and, if called as a witness, is expected to provide testimony regarding Alpine’s AML

program, her responsibilities and actions as both CCO and, for a more limited period of

time, AML officer, her supervision of AML procedures, and her understanding and the

nature the procedures underlying respective transactions and/or SARs identified in this

matter.

          m.    Holly Peck (Halpin), former legal counsel and AML Officer at Alpine,

resides in Utah, and, and, if called as a witness, is expected to provide testimony

regarding Alpine’s AML program, due diligence and review procedures for deposits of

securities by Alpine’s customer, and her responsibilities when she worked in the

compliance and AML department and when she was AML officer, and her understanding

and the nature, oversight and procedures underlying respective transactions and/or SARs

identified in this matter.

          n.    Betsy Voter, former General Counsel at Alpine, resides in Utah, and is

expected to provide testimony regarding her responsibilities with respect to due diligence

and review of deposits of securities by Alpine’s customers, including her actions

regarding Alpine’s AML program and the procedures and resources.

          o.    Mike Bennett, former Associate Counsel at Alpine, resides in Utah, and, if

called as a witness, is expected to provide testimony regarding due diligence and review

procedures for deposits of securities by Alpine’s customers and certain facts and issues

which were referred to AML for further consideration and possible preparation of SARs.

          p.    Russell Jones, former Associate Counsel at Alpine, resides in Utah, and, if

called as a witness, is expected to provide testimony regarding due diligence and review




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       procedures for deposits of securities by Alpine’s customers and certain facts and issues

       which were referred to AML for further consideration and possible preparation of SARs.

               q.     Kyle Hampton, former Associate Counsel at Alpine, resides in Utah, and,

       if called as a witness, is expected to provide testimony regarding due diligence and

       review procedures for deposits of securities by Alpine’s customers and certain facts and

       issues which were referred to AML for further consideration and possible preparation of

       SARs.

               r.     Doug Wawrzynski, former legal counsel at Alpine, including AML

       Officer from September 2012 to July 2013, resides in Utah, and, if called as a witness, is

       expected to provide testimony regarding Alpine’s AML program, his actions during the

       period of time when he was AML officer, and his understanding and oversight of the

       procedures underlying respective transactions and/or SARs identified in this matter.

               s.     Heather Noble, former Compliance Analyst at Alpine, resides in Utah,

       and, if called as a witness, is expected to provide testimony regarding Alpine’s

       procedures and policies with respect to responding to various regulatory requests for

       information and otherwise assisting with compliance and AML matters.

               t.     David Cazier, Controller and FINOP at Alpine, resides in Utah, and, if

       called as a witness, is expected to provide testimony regarding certain aspects of Alpine’s

       AML procedures, principally regarding over sight and review of wire transfers.

       12.     Based on my personal knowledge as General Counsel for Alpine, all but three of

the foregoing 20 witnesses reside in Utah, in or near the Salt Lake City metropolitan area.

Moreover, one of the three individuals residing outside Utah remains employed at Alpine and

regularly travels to and works at Alpine’s headquarters. Given this, it would be significantly




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more convenient and effective for all of the 20 named witnesses, including those who reside

outside of Utah, to be involved in discovery and have this matter tried in Utah, considering that:

             • these witnesses either reside in Utah or spend a substantial amount of their

                workdays in Utah; and

             • all of Alpine’s books and records that form the basis of the SEC’s Complaint are

                in and most easily available in Utah.

       13.      Besides the lost time and travel expenses, which would disproportionately fall

upon Alpine and its witnesses, Alpine’s documents which may be disclosed in the above-entitled

matter are almost all generated or located in, and are most easily accessible in Utah, including

documents pertaining to particular accounts or account activity, other account records, records of

stock deposits, positions held, and trading, money movements, wire transfers, and related due

diligence, order ticket and confirmations, trade blotters, and email records.

       14.      All drafting and filing of Suspicious Activity Reports (“SARs”), along with

assembly and preparation of underlying documents, occurred at Alpine in Utah, and Alpine

maintains hard copies of the SARs and the SARs’ inquiry files.

       15.      I have further reviewed the descriptions of expected witness testimonies for

Alpine’s current and former employees provided by the SEC in its Opposition Memorandum and

in the Declaration of James Lyman. Alpine has also shared and reviewed the SEC’s descriptions

of expected witness testimonies with Alpine’s current employees who were cited in Mr. Lyman’s

Declaration. Based on Alpine’s review of the Declaration with those employees, Alpine

understands that no transcript of the statements exists, and the SEC’s one-sided descriptions of

anticipated testimony for current Alpine employees is both inaccurate and incomplete. Alpine

has concluded that those witnesses identified in Mr. Lyman’s Declaration will not testify as




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represented by the SEC.



       WHEREFORE, I declare under penalty of perjury that the foregoing is true and correct.


       DATED this 6th day of September, 2017.



                                    /s / Nathan D. Simmons
                                    Nathan D. Simmons
                                    [electronically signed with permission]




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